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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                            *

        Plaintiffs,                               *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                             *

KRISTI NOEM, Secretary,                           *
United States Department                          *
of Homeland Security, et al.,                     *

        Defendants.
                                               *
                                              ***
                                             ORDER

        Today—the very day Defendants’ answer or response to the Complaint is due—Defendants

move for a thirty-day extension of the filing deadline. ECF No. 162. Rule 6(b) of the Federal

Rules of Civil Procedure allows the Court to extend deadlines for good cause if the request is made

before the original time expires. Whether to grant such relief rests in the Court’s discretion.

        Defendants expended no effort in demonstrating good cause. They vaguely complain, in

two sentences, to expending “significant resources” engaging in expedited discovery. But these

self-described burdens are of their own making. The Court ordered expedited discovery because

of Defendants’ refusal to follow the orders of this Court as affirmed by the United States Court of

Appeals for the Fourth Circuit and the United States Supreme Court.

        Further, as the docket plainly demonstrates, Defendants are intimately familiar with the

causes of action and of the pending deadline. The Court has conducted no fewer than five hearings

in this case and at no point had Defendants even intimated they needed more time to answer or

otherwise respond. Thus, to say now that additional time is needed to do that which the law




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requires rings hollow. Accordingly, the motion is DENIED. Defendants shall file their Answer

or otherwise respond to the Complaint today.

       SO ORDERED.



May 27, 2025                                                                  /S/
Date                                                           Paula Xinis
                                                               United States District Judge




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